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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:21−cr−00698
                                                         Honorable Robert W. Gettleman
Ronald T. Molo
                                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, November 7, 2022:


         MINUTE entry before the Honorable Robert W. Gettleman as to Ronald T. Molo:
At defendant's request, Video change of plea hearing set for 11/8/2022 is reset to a
telephonic status hearing on the Webex platform on 11/8/2022 at 10:00 a.m. Parties will
not be asked to start their video. Members of the public and media may listen to these
proceedings by dialing (650) 479−3207 the meeting number, access code, or PIN/ID is
1809883385. Counsel of record and other essential case participants will receive an email
prior to the start of the hearing with instructions to join the hearing. Persons granted
remote access to proceedings are reminded of the general prohibition against
photographing, recording, and rebroadcasting of court proceedings. Violation of these
prohibitions may result in sanctions, including removal of court issued media credentials,
restricted entry to future hearings, denial of entry to future hearings, or any other sanctions
deemed necessary by the Court. Mailed notice (cn).




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